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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES − GENERAL
 Case
 No.: 2:19−cv−09569−RSWL−AS                           Date: 2/25/2020
 Title: NATHAN JOHNSON ET AL V. STONEYHILL SECURITY ASSOCIATION ET
 AL

 Present: The Honorable RONALD S.W. LEW, Senior, U.S. District Court Judge
              Joseph Remigio                                      Not Present
               Deputy Clerk                                      Court Reporter
          Attorneys Present for Plaintiffs:             Attorneys Present for Defendants:
                    Not Present                                   Not Present
 PROCEEDINGS:           (In Chambers)
 The above matter is set for a Scheduling Conference on April 21, 2020, at 10:00 AM. The
 conference will be held pursuant to F.R.Civ.P. 16(b). The parties are reminded of their
 obligations to disclose information and confer on a discovery plan not later than 21 days
 prior to the scheduling conference and report to the Court not later than 14 days after they
 confer as required by F.R.Civ.P. 26 and the Local Rules of this Court. Failure to comply may
 lead to the imposition of sanctions.
 If counsel has received a “Notice to Parties of Court−Directed ADR Program” (form
 ADR−08), the Court will presumptively refer the case to the Court Mediation Panel or to
 private mediation at the time of the initial scheduling conference. See General Order 11−10,
 § 5.1. Counsel are directed to furnish and discuss this Notice with their clients in preparation
 for the parties’ Fed.R.Civ.P. 26(f) conference. Counsel should include their shared or separate
 views regarding a preference for the Court Mediation Panel or private mediation, and when the
 mediation should occur, in the written report required by Fed.R.Civ.P. 26(f) and Civil L.R.
 26−1. A settlement conference with a magistrate judge is generally not available for cases in
 the Court−Directed ADR Program. See Civil L.R. 26−1(c). For information about the Court's
 ADR Program, please see General Order 11−10 which is located in the “General Orders”
 section on the home page and in the “ADR” page of the Court’s website.
 Plaintiff’s counsel is directed to give notice of the Scheduling Conference to all parties that
 have been served but have not appeared in this action, and is directed to give notice of the
 Scheduling Conference immediately to each party that makes an initial appearance in this
 action after this date.

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                                                                               Initials of Preparer: jre
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